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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

ABDOU KARIM SALL,
                                                       Case No. 18-10935
                Petitioner.
                                                       SENIOR U.S. DISTRICT JUDGE
v.                                                     ARTHUR J. TARNOW

DIRECTOR, U.S. IMMIGRATION AND                         U.S. MAGISTRATE JUDGE
CUSTOMS ENFORCEMENT, ET AL.,                           STEPHANIE DAWKINS DAVIS

                Respondents.
                                          /

            ORDER GRANTING PETITION FOR WRIT OF HABEAS CORPUS [1]

         Petitioner Abdou Karim Sall, a native and citizen of Senegal, filed a Petition

for Writ of Habeas Corpus [Dkt. 1] on March 21, 2018. Mr. Sall asks the Court to,

among other things, issue a writ of habeas corpus directing Respondents – the

Immigration and Customs Enforcement (“ICE”) Agency’s District Director for the

Detroit office, Rebecca Adducci, ICE Deputy Director Thomas D. Homan, U.S.

Secretary of Homeland Security Kirstjen M. Nielson, U.S. Attorney General Jefferson

B. Sessions III, and Lieutenant Paul Stanaway – to release him immediately, subject

to reasonable terms of supervision. Mr. Sall argues that he is being unlawfully

detained1 and that he is not subject to the mandatory detention provisions of section

236(c) of the Immigration and Nationality Act (“INA”), 8 U.S.C. § 1226(c).




1
    Mr. Sall is detained at the Chippewa County Jail in Sault Ste. Marie, Michigan.
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         Respondents argue that Mr. Sall’s detention pending completion of removal

proceedings is mandated by § 1226(c). They maintain that the Court should defer to

the Board of Immigration Appeals’ (“BIA”) interpretation of § 1226(c), as well as its

decision in In re Rojas, 23 I. & N. Dec. 117 (B.I.A. 2001). See Chevron, U.S.A., Inc.

v. Natural Res. Def. Council, Inc., 467 U.S. 837 (1984).

         For the reasons discussed below, the Court will GRANT Mr. Sall’s Petition for

Writ of Habeas Corpus [1].

                       FACTUAL AND PROCEDURAL BACKGROUND

         35-year-old Petitioner Abdou Karim Sall is a native and citizen of Senegal. Mr.

Sall’s father, a former employee at the Senegal Consulate, helped his son enter the

U.S. with a valid visa in April 2002. Mr. Sall’s father returned to Senegal two years

later.

         Shortly after arriving in the U.S., Mr. Sall began working as a street vendor in

New York, making approximately $30-$40 per day. He was convicted of petit larceny

in Hempstead, New York on November 22, 2006. Four or five years later, Mr. Sall

met his current wife, Kalissa Maxwell-Sall, who is an American citizen. He converted

to Christianity around this time.

         Mr. Sall was convicted of four fraud-related offenses in New York between

September 2010 and December 2012. These convictions, for third degree trademark

counterfeiting and theft of services, related to his work as a street vendor and his

failure to pay for public and private transportation in New York City.

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       Mr. Sall’s son, Elhadji Sall, was born in New York in June 2013. It appears that

Mr. Sall and his family moved to Michigan sometime after 2015.2

       Mr. Sall suffers from bipolar disorder. During the summer of 2017, Kalissa

observed her husband’s mental health issues for the first time. He behaved in erratic,

strange, and aggressive ways. One day, in June 2017, Mr. Sall apparently wandered

away from home. When Kalissa found him and he returned home, he hit her on the

back and on the back of the head. Mr. Sall was convicted of a disorderly person

offense on June 27, 2017. The following day, Mr. Sall was taken into custody.

       On July 10, 2017, an Immigration Court judge denied Mr. Sall’s request for an

individualized bond hearing, on the grounds that Mr. Sall is subject to mandatory

detention pursuant to 8 U.S.C. § 1226(c). Mr. Sall did not apply for asylum until he

was in immigration court.

       Kalissa and Mr. Sall married on August 18, 2017, while Mr. Sall was in

custody. Their daughter, Adalisa Gloriana Sall, was born in White Lake, Michigan in

October 2017.

       On November 20, 2017, a second Immigration Court judge denied Mr. Sall’s

application for asylum and ordered that he be removed to Senegal. The judge also,

however, granted Mr. Sall’s application withholding of removal, which forbids the

Department of Homeland Security (“DHS”) from removing Mr. Sall to Senegal. Mr.

2
 In the oral decision denying asylum and granting withholding of removal, the
Immigration Judge noted that Mr. Sall “testified that he was hospitalized several times in
New York City between 2000 and 2015 for depression.” See Dkt. 1, Pg. ID 27.
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Sall waived his right to appeal on all issues. DHS appealed the judge’s grant of

withholding removal to the BIA.

      The BIA issued its decision on May 8, 2018. The BIA remanded Mr. Sall’s

case for further proceedings, on the grounds that the Immigration Court judge failed to

“explain why she believed that the respondent’s proposed particular social group3 was

cognizable under section 241(b)(3) of the [INA].” (Dkt. 6, Pg. ID 94). The BIA

directed the Immigration Court judge to enter a new decision “setting forth – pursuant

to the applicable statutes, regulations, and case law – her basis for granting” Mr. Sall’s

application for withholding of removal. Id. at Pg. ID 95.

                                  LAW AND ANALYSIS

      This case involves the BIA’s construction of 8 U.S.C. § 1226(c). Accordingly,

the Court applies the two-step analysis described as follows in Chevron, U.S.A., Inc. v.

Natural Res. Def. Council, Inc., 467 U.S. 837, 842-43 (1984):

      First, always, is the question whether Congress has directly spoken to the
      precise question at issue. If the intent of Congress is clear, that is the end of the
      matter; for the court, as well as the agency, must give effect to the
      unambiguously expressed intent of Congress. If, however, the court determines
      Congress has not directly addressed the precise question at issue, the court does
      not simply impose its own construction on the statute, as would be necessary in
      the absence of an administrative interpretation. Rather, if the statute is silent or
      ambiguous with respect to the specific issue, the question for the court is
      whether the agency’s answer is based on a permissible construction of the
      statute.

8 U.S.C. § 1226(c) provides:
3
 Mr. Sall explained that his proposed social group “consist[ed] of indigent Senegalese
citizens in Senegal without family support with bipolar disorder who exhibit outwardly
erratic behavior.” (Dkt. 6, Pg. ID 94).
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      (c) Detention of criminal aliens

             (1) Custody

             The Attorney General shall take into custody any alien who –

             (A) is inadmissible by reason of having committed any offense covered
                 in section 1182(a)(2) of this title,
             (B) is deportable by reason of having committed any offense covered in
                 section 1227(a)(2)(A)(ii), (A)(iii), (B), (C), or (D) of this title,
             (C) is deportable under section 1227(a)(2)(A)(i) of this title on the basis
                 of an offense for which the alien has been sentence [sic] to a term of
                 imprisonment of at least 1 year, or
             (D) is inadmissible under section 1182(a)(3)(B) of this title or deportable
                 under section 1227(a)(4)(B) of this title,

      when the alien is released, without regard to whether the alien is released on
      parole, supervised release, or probation, and without regard to whether the alien
      may be arrested or imprisoned again for the same offense.

             (2) Release

             The Attorney General may release an alien described in paragraph (1)
             only if the Attorney General decides . . . that release of the alien from
             custody is necessary to provide protection to a witness . . . and the alien
             satisfies the Attorney General that the alien will not pose a danger to the
             safety or other persons or of property and is likely to appear for any
             scheduled proceeding . . . .

(emphasis added).

      The Court joins the majority of others courts in this District in concluding that

§ 1226(c) does not apply to an individual not taken into custody immediately upon

release from criminal custody. See Hamama v. Adducci, 285 F.Supp.3d 997, 1016

(E.D. Mich. 2018); Rosciszewski v. Adducci, 983 F.Supp.2d 910, 916 (E.D. Mich.

2013); Khodr v. Adduci, 697 F.Supp.2d 774, 778 (E.D. Mich. 2010). “[T]he phrase

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‘when the alien is released’ clearly and unambiguously requires that the Attorney

General take the alien into custody immediately upon the alien’s release from criminal

custody.” Khodr, 697 F.Supp.2d at 778. By using the word ‘when,’ “Congress

demonstrated its intent that such aliens be taken into custody contemporaneous with

their release or not at all (at least under section 1226(c)).” Id. at 778-79. The Khodr

Court also noted that the BIA “agreed with this reading of the statute.” Id. at 779

(citing Matter of Rojas, 23 I. & N. Dec. 117, 122 (BIA 2001)).

      These courts also highlighted the delay between the time petitioners were

released from criminal custody and the time they were taken into ICE custody. Id. at

780 (finding that “the four year plus delay in taking Petitioner into custody was

clearly an unreasonable delay.”); see also Rosciszewski, 983 F.Supp.2d at 916 (an 11

year delay between release from criminal custody and entering ICE custody is clearly

unreasonable delay); Zabadi v. Chertoff, 2005 WL 3157377, at *1-2 (N.D. Cal. Nov.

22, 2005) (a two-year period between release from criminal custody and ICE

detention was deemed unreasonable for § 1226(c) purposes).

      In this case, Mr. Sall’s most recent conviction for a deportable offense was

theft of services in December 2012. This nearly five year delay is clearly unreasonable

under § 1226(c).

                                      CONCLUSION

For the reasons set forth above,



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       IT IS ORDERED that Petitioner’s Petition for Writ of Habeas Corpus [1] is

GRANTED.

       IT IS FURTHER ORDERED that Respondents shall release Petitioner from

custody immediately.

       IT IS FURTHER ORDERED that Respondents shall transport Petitioner

from the Chippewa County Jail to Petitioner’s home in White Lake, Michigan.

       IT IS FURTHER ORDERED that Respondents shall not detain Petitioner in

any custodial facility, but shall instead require that he submit to the electronic

tethering program administered by the U.S. Pretrial Services.

       IT IS FURTHER ORDERED that Petitioner will, in the company of his

lawyer, meet with a representative from U.S. Pretrial Services for initiation of the

tethering program.

       IT IS FURTHERED ORDERED that Petitioner shall not leave the Eastern

District of Michigan.

       IT IS FURTHER ORDERED that Petitioner shall report daily (or less

frequently, as required by U.S. Pretrial Services) by telephone to Pretrial Services.

       IT IS FURTHER ORDERED that Respondents shall recommend to the

immigration judge that this case receive priority consideration for an early removal

hearing.

       IT IS FURTHER ORDERED that Petitioner will enroll in a mental health

treatment program.

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      IT IS FURTHER ORDERED that this Order will be in effect until further

order of the Court. Modifications to this Order may be made by stipulation of the

parties or, in the event of changed circumstances, through application to the Court.

      SO ORDERED.


                                        s/Arthur J. Tarnow
                                        Arthur J. Tarnow
Dated: May 24, 2018                     Senior United States District Judge




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